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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


CORY DAVIS, individually and on behalf of
all others similarly situated,              Case No. l:22-cv-00776

                                            Honorable Andrea R. Wood

       V.                                                  FILEtr)
JUMIO CORPORATION, a Delaware
corporation,                                                     MAR 1 12022   il/(/-
                     Defendant.                             THOMAS G BRUTON
                                                         CLERK, U.S. DISTRICT COURT

JUMIO CORPORATION'S MEMORANDUM OF LAW IN ST]PPORT OF MOTION TO
                 DISMISS PLAINTIFF''S COMPLAINT
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                                          INTRODUCTION
        Plaintiff Cory Davis ("Davis") allegesr that he is a member of the Binance

cryptocurrency exchange, and that the Binance mobile application (the "Binance App") required

him to veriflz his identity before he could trade on the Binance exchange. To do this, Davis

alleges that the Binance App required him to upload a photograph of himself (a "selfie") and a

photograph of his driver's license, and that the Binance App then verified his identity by

comparing the two images using software that was created by Jumio and "embed[ed]" and

"integrate[d]" into the Binance App. Compl. fl 3.

        Davis claims that in connection with this process, Jumio collected his biometric

information or biometric identifiers as those terms are defined in the Illinois Biometric

Information Privacy Act ("BIPA"),740ILCS l4l1, et seq. Davis alleges that neither Binance nor

Jumio provided him with notice oe and did not obtain his consent to, Jumio's collection of his

biometric information or biometric identifiers as required under BIPA Section 14l15(b). The

only allegations Davis makes as to his own experience are based on his use of the Binance App,

but the Complaint asserts a sole claim, against Jumio, for violation of BIPA Section l4l15(b).

        The Court should dismiss the Complaint because it is flatly barred by Section 14125(c) of

BIPA, which provides that "[n]othing in this Act shall be deemed to apply in any manner to a

financial institution or an affiliate of a financial institution that is subject to Title V of the federal

Gramm-Leach-Bliley Act of 1999 [the 'GLBA'] and the rules promulgated thereunder." BIPA

ru/25(c) (emphasis added). Binance is a financial institution subject to the GLBA; Davis's claim

against Jumio is based entirely on his use of the Binance App in order to trade on the Binance

exchange; and Jumio's only involvement was to provide software that performs the identity

verification function that is required by Binance in order for Binance users to trade on the

Binance exchange. To apply BIPA to Jumio based on these allegations would be to apply BIPA

"in any manner" to Binance. This is expressly barred under Section 14125(c). And this fatal

        I Jumio accepts as true
                                  the factual allegations in the Complaint, Dkt. l-1, solely for
purposes of this Motion. Jumio does not concede that the allegations are accurate.
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defect cannot be cured by amendment, so the Complaint should be dismissed with prejudice.

Doermer v. Callen,847 F.3d 522, 528 (7th Cir. 2017).

        In addition, even if Davis's claim were not prohibited by BIPA's express terms (and it

is), the Court should dismiss the Complaint because Davis has not alleged facts showing that

BIPA applies in the first place. It is well established that BIPA does not apply extraterritorially.

Davis must therefore allege facts showing that the conduct on which he bases his claim occurred

primarily and substantially in Illinois. But Davis has not alleged the location where any of the

relevant acts occurred. Indeed, the only geographical fact about Jumio that Davis has alleged is

that Jumio is headquartered in Palo Alto, California. Compl. fl 9. Because Davis has not alleged

facts showing that the conduct that forms the basis of his claim against Jumio occurred primarily

and substantially in Illinois, he has not alleged facts showing that BIPA applies, so his claim for

violation of BIPA should be dismissed for this reason as well.

                                          BACKGROT]ND
        Binance is "an online cryptocurrency marketplace." Id. n 31. A Binance user may access

Binance through the Binance App, but the Binance App requires the user to first verifu his or her

identity before trading on Binance. To do this, the Binance App requires the user to upload a

copy of the user's identification document (such as a driver's license) and a selfie. The Binance

App then compares the two images to confirm a match, using software that is developed by

Jumio and "embedded" and "integrated" into the Binance App. Compl. fll] 3, 22,26.

        Davis's own experience is described in paragraphs 31 and 33-35 of the Complaint.

According to Davis, he is a member of Binance. In January 2021,he used the Binance App,

which prompted him to upload photographs of his driver's license and his face in order to verif,

his identity. Id.fln3l-33. According to Davis, Jumio "subsequently used biometric identification

technology to extract his biometric identifiers from each photograph, create two face templates,

and compare the templates for a match." Id.n33. Davis does not allege the geographical location

where any of the conduct relevant to his claims occurred. Davis alleges that Jumio is

headquarlered in California, and that he is a citizen of Illinois. [d.fl1]8,9.



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                                           ARGUMENT
A.      Legal Standard
        To survive a Rule l2(bX6) motion to dismiss, a complaint must contain sufficient facts to

"show[] that the pleader is entitled to relief." Fso. R. Crv. P. 8(a)(2). A plaintiff must "provid[e]

some specific facts to ground [his] legal claims," Brooks v. Ross, 578 F.3d 574, 581 (7th Cir.

2009), and "give enough details about the subject-matter of the case to present a story that holds

together," Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010). Although courts must

"accept all well-pleaded facts as true and draw reasonable inferences in [a plaintiff s] favor,"

Roberts v. City of Chi.,817 F.3d 561,564 (7th Cir. 2016), "the tenet that a court must accept as

true all of the allegations contained in a complaint is inapplicable to legal conclusions.

Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice." Ashcroft v. Iqbal,556 U.S. 662,678 (2009) (citing Bell Atl. Corp. v.

Twombly,550 U.S. 544,555 (2007)).It is not enough for a plaintiff to "merely parrot the

statutorylanguageoftheclaimsthattheyarepleading," Brooks,578F.3dat58l.

B.      BIPA and the GLBA Exception
        BIPA sets out requirements for companies that are "in possession of'biometric data

(BIPA l4/15(a), (c), (d), and (e)), and companies that "collect, capture, purchase, receive through

trade, or otherwise obtain" (for purposes of this Motion, "collect") biometric data (BIPA

14l15(b)). Davis's claim is based on Section 14l15(b), which imposes certain notice and consent

requirements on companies that collect biometric data.

       Recognizing that "[t]he use of biometrics is growing in the business and security

screening sectors and appears to promise streamlined financial transactions and security

screenings" (BIPA l4l5(a)), the Illinois legislature also identified a number of activities and

entities that were expressly excluded from BIPA's application. Those are set forth in Section

14/25. Relevant to Davis's claim, Section 14125(c) provides that "[n]othing in this Act shall be

deemed to apply in any manner to a financial institution or an affiliate of a financial institution




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that is subject to Title V of the federal Gramm-Leach-Bliley Act of 1999 and the rules

promulgated thereunder." BIPA lal25(c) (the "GLBA Exception").

        The "in any manner" language of the GLBA Exception does important work. The

addition of that language is clearly intentional-as the same language is not found in other

subsections of Section 14125. See, e.g.,BlPA 14125(e) (government contractor exception). By

including the phrase "in any manner" after the word "apply," the legislature made clear that

BIPA cannot be applied even indirectly to entities that are subject to the GLBA. A contrary

interpretation would render the phrase o'in any manner" surplusage and should be avoided. See

Nielen-Thomasv. Concorde Inv. Servs., LLC,914F.3d524,528(7thCir.2019) ("Wemustalso,

if possible, give effect to every clause and word of a statute, taking care not to read words into
the text or to treat any words as iurplusage.") (intemal quotation marks and citation omitted).

        In addition, the phrase "in any manner" is broadly construed under Illinois law. For

example, the Illinois Controlled Substances Act provides that a vehicle is subject to forfeiture if

it is used "in any manner to facilitate the . . . possession . . . of substances manufactured,

distributed, dispensed, or possessed in violation of th[e] Act." 720ILCS 570/505. Because of this

language, a car was subject to forfeiture where the occupant of the car hid cocaine in a vial in his

sock.,See People ex rel. Brochv. Hogg,57l N.E.2d 888, 892 (Ill. App. Ct. l99l). The court

reasoned that the car added an additional "dimension of privacy" to aid in the concealment, and

so "facilitated" the possession of the drug in violation of the statute.ld. Similarly, the Illinois

Workers' Compensation Act, which states that employers may not interfere ooin any manner

whatsoever" with an employee's exercise of rights, 820 ILCS 305/4(h) (emphasis added), has

been interpreted to prohibit an employer from requiring an employee to give notice before

seeking medical treatment for a work injury, on the theory that requiring an employee to make a

phone call or leave a voicemail on the way to the doctor "interferes" with the employee's

exercise of rights. See Stevensonv. FedEx Ground Package Sys., Inc.,69 F. Supp. 3d792,796

(N.D. Ill. 2014) ("[T]he unqualified language of the statute states plainly that employers may not

interfere 'in any manner whatsoever' with an employee's exercise of his rights. This


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unambiguous statutory text compels this Court to conclude that imposing even modest

requirements as a precondition to seeking medical treatment is 'interfere[nce]' within the

meaning of section 4(h).') (internal citation omitted).

C.      The GLBA Exception bars Davis's claim.
        Davis's sole claim falls squarely within the GLBA Exception, and must be dismissed,

with prejudice, on that basis. The claim is based entirely on Davis's use of the Binance App,

which required him to verifu his identity to trade on the Binance exchange. As explained below,

Binance is unquestionably a "financial institution . . . that is subject to Title V of the federal

Gramm-Leach-Bliley Act of 1999." BIPA 14125(c). To apply BIPA to Jumio based on the role

its software allegedly plays in streamlining financial transactions on the Binance exchange would

be to apply BIPA "in any manner" to Binance. The statute's express language prohibits this.

        1.      Davis's claim against Jumio is based entirely on his use of the Binance App,
                which verified his identity so that he could trade on the Binance exchange.
       According to Davis, the Binance App verified his identity using Jumio technology, which

was required in order to trade on the Binance cryptocurrency exchange. Specifically, Davis

alleges that he "is a member of the online cryptocurrency marketplace called Binance;" that the

Binance App "required [him] to confirm [his] identity;" andthat the Binance App did this by

requiring Davis to upload photographs of his driver's license and his face so that the Binance

App could use Jumio's "biometric identification technology to extract his biometric identifiers"

and compare the faces depicted in the two photographs. Compl. fl'l] 3l-33.

       2.      Binance is a financial institution subject to the GLBA.
       It is a judicially-noticeable fact that the full name of Binance is Binance.Us.2 And

       2
         Persons in the United States are permitted to access the Binance cryptocurrency
marketplace only through Binance.US. See About Us, BINaNCE.US,
https://www.binance.us/enlabout (last visited Mar. 9, 2022) ("Binance.US is a digital asset
marketplace ... Binance.US provides a fast, secure and reliable platform to buy and sell
cryptocurrencies in the United States.); Our US Partner, Binance.US, Opens for Registration and
Deposits, BrNaNcp (Sept. 17, 201919:35),
https://www.binance.com/en/support/announcement/360033855351 ("Binance licenses its
matching engine and wallet technologies to Binance.US, so [United States] users can enjoy the


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Binance.US is undeniably a financial institution subject to the GLBA.

       First,Binance.US itself has made clear that it is a financial institution sub.ject to the

GLBA in court filings in a case strikingly similar to this one-and filed more than 3 months

earlier. That case is entitled Kuklinski v. Binance, et al.,No.3:21-cv-01425-SPM, filed in state

court on October 4,2021and removed to the U.S. District Court for the Southern District of

Illinois on November 12,2021, where it remains pending before Judge Stephen P. McGlynn. In

Kuklinski, the plaintiff asserts BIPA and other claims against three defendants: Binance.US (aka

BAM Trading Services Inc.) (the domestic trading entity), Binance Capital Management Co.,
Ltd. (the foreign entity), and Jumio. Dkt. l-1 atfll,48-64. On January 31,2022, all defendants

moved to dismiss the Complaint, raising multiple defenses, including that the GLBA barred

Kuklinski's claims against both Binance.US and Jumio. In connection with that motion,

Binance.US explained in detail how and why it is a financial institution subject to the GLBA.,See

Def. BAM Trading Services Inc.'s Mot. to Dismiss the Compl. and Incorporated Mem. of Law at

3-8, Kuklinski v. Binance Capital Managemenl Co., No. 3:21-cv-01425-SPM (S.D. Ill. Jan. 31,

2022), ECF No. 30 (attached as Ex. 1).3 Binance.US clearly treats itself and holds itself out as a

"financial institution subject to [the GLBA]." BIPA l4l25(c).

       Second,judicially noticeable facts show that Binance.US is a "financial institution

subject to the GLBA" under Section 14125(c). The incorporated GLBA definition of "financial



cutting-edge digital assets trading technology Binance is known for."). The existence of these
website pages cannot reasonably be disputed and the contents are therefore subject tojudicial
notice. See, e.g.,Incandelav. Great-W. Life & Annuity Ins. Co., No. 07-CV-7051,2010 WL
438365, at *5 (N.D. Ill. Feb. 4,2010) ("The Seventh Circuit has taken judicial notice of
information presented on reliable websites."); Addison Automatics, Inc. y. RTC Grp., Inc.,No. 12
C 9869, 2013 WL 3771423, at*3 n.2 (N.D. Ill. July 16, 2013) (taking judicial notice of website
describing products and services provided by private entities); Shen Wei (USA) Inc. v.
Sempermed,lnc., No. 05 C 6004, 2007 WL 328846, at *3 n.3 (N.D. Ill. Jan. 30, 2007) ("For
purposes of a l2(b)(6) motion to dismiss, a court may take judicialnotice of information publicly
announced on a party's website, as long as the website's authenticity is not in dispute and it is
capable of accurate and ready determination.").
       3
        Kuklinski has since amended his complaint, but has not cured its fatal defects, and the
defendants will again move to dismiss it on March 15,2022.



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institution"a includes "any institution the business of which is engaging in financial activities as

described in section 1843(k) of Title 12," 15 U.S.C. $ 6809(3XA). Section 1843(k) of Title 12

lists activities such as (l) "[]ending, exchanging, transferring, investing for others, or

safeguarding money," and (2) "any activity that the [Federal Reserve] Board has determined, by

order or regulation that is in effect on November 72,1999, to be so closely related to banking or

managing or controlling banks as to be a proper incident thereto." 12 U.S.C. $S 1841(0,

1843(kX4XA) & (F). Accordingly, an entity that is engaged in (l) lending, exchanging,

transferring, safeguarding, or investing for others money, or (2) any activity that the Federal

Reserve Board has determined to be closely related to banking, is "a financial institution subject

to the GLBA" under BIPA 14125(c).

        Binance.US qualifies under either criterion. Binance.US is registered as a money

transmitter with the U.S. Department of the Treasury's Financial Crimes Enforcement Network

("FinCEN"). See Ex. 4 (attaching results of registrant search via https://www.fincen.gov/msb-

registrant-search). This fact is subject to judicial notice.s It is therefore engaged in "lending,

exchanging, [or] transferring . . . money," so is a financial institution subject to the GLBA. In

addition, the Federal Reserve Board has expressly determined that "money transmission services

are closely related to banking." Orders Issued Under Section 4 of the Bank Holding Company

Act,8l Fso. REspnvE BULL. 1 130, I 131, (F.R.B . 1995); see also 12 C.F.R. g 225.86(a)(2)(v)
(providing that "money transmission" is an "[a]ctivit[y] determined to be closely related to

banking."); 3l C.F.R. $ 1010.100(f0(5)(iXA) ("The term 'money transmission services' means

        a
        See 15 U.S.C. $ 6801; Order, Jane Doe v. Elmhurst (Iniv.,No. 2020 L 001400 (Cir. Ct.
DuPage Cnty. III. June 9, 2021) (attached as Ex. 2) (the term "financial institution" under BIPA
"means an entity that is subject to [the GLBA]"); see also Order at2, Jane Doe v. Nw. (]niv.,No.
2l C 1579 (N.D. Ill. Feb.22,2022), ECF No. 3l (same) (attached as Ex. 3); Bryant v. Compass
Grp. USA,Inc.,503 F. Supp.3d597,601 (N.D.111.2020) (same); Staufferv. Innovative Heights
Fairview Heights, LLC, 480 F. Supp. 3d 888, 903 (S.D. 111.2020) (same).
        s
            See Hartley v. Villa Scalabrini Nursing & Rehab. Cr., No. 08-CV-3830, 2009 WL
3 I 88070, at x  I n. I (N.D. Ill. Sept. 30,2009) ("The court takes judicial notice that the corporate
entity registered with the Secretary of State is Resurrection Senior Services, Inc., doing business
as Villa Scalabrini Nursing and Rehabilitation Center.").



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the acceptance ofcurrency, funds, or other value that substitutes for currency from one person

and the transmission of currency, funds, or other value that substitutes for currency to another

location or person by any means."). Binance.US is therefore engaged in activities that are closely

related to banking, and so is a financial institution sub.iect to the GLBA.

       Davis's own allegations also show that Binance.US is a financial institution subject to the

GLBA. He alleges he is "a member of an online cryptocurrency marketplace called Binance."

Compl. fl 31. Cryptocurrency is "[a] digital or virtual curency that is . . . designed to function as

a medium of exchange." Cryptocuruency, BLACK's Law DrcuoNARy (l lth ed. 2019). By

describing it as a "cryptocurrency marketplace," Davis alleges that Binance is engaged in the

"fl]ending, exchanging, transferring, investing for others, or safeguarding money," 12 U.S.C.
                                                                o'cumency"
$ 1 843(kX4)(A), and that its services entail transmission of                or o'substitutes for

currency" 3l C.F.R. $ 1010.100(f0(5)(iXA). Consistent with this, the Federal Trade Commission

("FTC"), which enforces the GLBA, recently made clear that it considered the "peer-to-peer

payment service" Venmo to qualifr as a financial institution because, like Binance.US, it is

"significantly engaged in 'transferring money."' SeeFTC Compl.'1]fl 4, 35, In re Paypal, Inc.,

No. C-4651, FileNo. 162-3201 (F.T.C. May23,2018), available at

https://www.ftc.gov/enforcement/cases-proceedingsll62-3l02lpaypal-inc-matter.

       3.      The GLBA Exception bars Davis's claim.
       Because Binance is a financial institution subject to the GLBA, "nothing in [BIPA] shall

be deemed to apply" to Binance "in any manner." BlPA 14125(c). Yet this is exactly what Davis

seeks. Davis alleges that the Binance App gave o'no notice whatsoever that Jumio is even

involved in the [Binance identity verification] process." Compl. fl 34. And he asks the Court to

examine the notice and consent process within the Binance App-an App that belongs to and is

controlled by Binance, and that "integrate[s]" and "embed[s]" Jumio software in order to veriff

users' identities so that he can trade on the Binance exchange. To apply BIPA to these facts

would apply it to Binance in some manner, which the statute forbids. This fatal defect cannot be




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cured by amendment, so the claim against Jumio must be dismissed with prejudice. Doermer,

847 F.3d at 528.

D.      The Court should also dismiss the Complaint trecause BIPA does not apply
        extraterritorially, and Davis has not alleged that the conduct giving rise to his claim
        occurred primarily and substantially in Illinois.
        Every court to consider the issue has agreed that BIPA does not apply extraterritorially.

See, e.g., Riverav. Google lnc.,238 F. Supp. 3d 1088, 1100 (N.D. Ill.2017) ("[BIPA] is not

authorized to have extraterritorial effect."); Monroy v. Shutterfly,1nc., No. 16 C 10984 ,2017 WL

4099846, at *5 (N.D. Ill. Sept. 15,2017) ("BIPA does not apply extraterritorially."); see also

Averyv. State FarmMuL Auto. Ins. Co.,276lll.2d 100, 184-85 (2005) (holdingthatanlllinois

statute cannot impose liability based on conduct occurring outside the state unless "the express

provisions of the statute" make clear that the statute is intended to apply extraterritorially)

(quoting Dur-Ite Co. v. Indus. Comm'n,394I11. 338, 350 (1946)). BIPA therefore applies only to

conduct that occurs in Illinois.

        Conduct is deemed to occur in Illinois when "the circumstances that relate to [a] disputed

transaction occur primarily and substantially" in Illinois. Avery, 216 Ill. 2d at 187; see also

Rivera,238 F. Supp. 3d at I 101. "[T]here is no single formula or bright-line test for determining

whether a transaction occurs within this state. Instead, a court must analyze whether the

circumstances relating to the transaction occur primarily and substantially within Illinois." 1d.

(cleaned up). No single factor is determinative, and in the context of BIPA, courts consider

factors such as where the alleged "scan" of facial geometry took place and the location where a

company develops its policy regarding the retention of biometric data. See, e.g., Monroy,2017

WL 4099846, at *6 (applying Avery in BIPA action and observing that 'oeach case must be
decided on its own facts"); Rivera,238 F. Supp. 3d at 1101-02 (citing Avery,216lll.2d at 187).

       To state his claim, Davis must allege facts showing that the relevant conduct occurred

primarily and substantially in Illinois. Yet Davis has not alleged any facts showing that any of

the conduct at issue occurred in Illinois. He has alleged that Jumio is headquartered not in

Illinois, but in California. Compl. fl 9. And his other allegations referencing location either failto


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identify any relevanl conduct or are wholly conclusory-as with his bare, unexplained

allegations of purported "business transactions" and "tortious acts" in Illinois." Compl. fl 10.

Davis does allege that he is a citizen of Illinois. Compl. fl 8. But he does not allege that any of the

acts at issue took place in Illinois, and if "[t]he only connection to Illinois" is the plaintiff s
o'status
           as a resident," the Avery test is not satisfied . Stroman Realty, Inc. v. Allison,2017 IL App

(4th) 150501-U, fl 62; see also Walker v. S.W.I.F.T. SCRL, 491F. Supp. 2d 781,795 (N.D. Ill.

2007) (same). Indeed, this case is strikingly similar to McGoveran v. Amazon Web Services.,

Inc., C.A. No. 20-1399,2021 WL 4502089 (D. Del. Sept. 30, 2021), which was dismissed on

extraterritoriality grounds because "[a]t bottom," plaintiffs alleged only that the phone calls from

which their biometric data were allegedly extracted "originated from Illinois," not that any

conduct by the defendant took place in Illinois. Id. at *4. Similarly here, Davis alleges that he is

an Illinois resident, but he fails to allege any facts showing that Jumio did anything relevant to

BIPA in Illinois. His claim must be dismissed for this reason as well as pursuant to the GLBA

Exception.

                                             CONCLUSION

           For the reasons stated above, Jumio respectfully asks the Court to dismiss Davis's

Complaint with prejudice.




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Dated: March 11,2022                   Respectfully submitted,


                                       /s/ Susan D. Fahringer

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 11,2022, a copy of the foregoing JUMIO

CORPORATION'S MBMORANDUM OF LAW IN SUPPORT OF MOTION TO

DISMISS PLAINTIFF'S COMPLAINT was electronically filed via the Court's ECF system

and served via email on the following attorneys of record:




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                           THE UNITBD STATBS DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS
                                BAST ST. LOUIS DIVISION


KAMIL KUKLINESKI, individually and on
behalf of all others similarly situated,

                    Plaintiff.

        v.                                   Civil Action No. 3:21-cv-01425-SPM
BINANCE CAPITAL MANAGEMENT CO.,              Judge: Hon. Stephen P. McGlynn
LTD, dlb|a BINANCE, BAM TRADING
SERVICES d/b/a BINANCE.US and JUMIO
CORPORATION,

                    Defendants.




        DEFENDANT BAM TRADING SERVICES INC.'S MOTION TO DISMISS
         THE COMPLAINT AND INCORPORATED MEMORANDUM OF LAW
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       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant BAM Trading Services

Inc. ("BAM") respectfully submits this motion to dismiss the "Class Action Complaint" (the

"Complaint") against BAM with prejudice and the following incorporated memorandum of law

in support thereof.

I.     PRELIMINARY STATEMBNT

       This Court should dismiss the Complaint against BAM with prejudice. Plaintiff brings

claims against BAM for violations of the Illinois Biometric Information Privacy Act ("BIPA")

and unjust enrichment. On their face, these claims are fatally defective. Plaintiff ignores that by

its express terms BIPA does not apply to financial institutions that are subject to the Gramm-

Leach-Bliley Act of 1999 (the "GLBA"). BAM, which operates a trading platform that allows

users to purchase and sell digital assets using (among other things) fiat currency (i.e., money), is

just such a financial institution. BAM is exempt from BIPA and, therefore, this Court should

dismiss Plaintiff s BIPA claim - as well as his unjust enrichment claim, which rests on the same

conduct and is derivative of the BIPA claim. This Court need go no further.

       But even if BAM were not exempt from BIPA (and it is), this Court should dismiss

Plaintiff s BIPA claim against BAM for at least three additional reasons. b!, California law

applies to Plaintiff s BIPA claim under BAM's goveming Terms of Use, which are incorporated

by reference into the Complaint. Plaintiff brought his BIPA claim under Illinois (not California)

law and, consequently, this Court should dismiss it. Second, BIPA does not apply

extraterritorially. Plaintiff does not plead any facts showing that the alleged BIPA violation by

BAM (which is headquartered in California and not a resident of Illinois) occurred primarily and

substantially in Illinois and, as a result, this Court should dismiss his BIPA claim. Third, the

Complaint does not adequately allege that BAM violated BIPA. Plaintiff asserts claims against

three separate defendants - BAM, Binance Capital Management Co., Ltd. ("Binance"), and


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Jumio Corporation ("Jumio") - but largely fails to plead which Defendant did what and instead

lumps them together, leaving BAM and this Court to speculate as to BAM's alleged BIPA

violation. Accordingly, this Court should dismiss Plaintiff s BIPA claim.

       Similarly, even if Plaintiff s unjust enrichment claim were not derivative of his BIPA

claim (and it is), this Court should dismiss his unjust enrichment claim against BAM because it

is not adequately alleged. Although Plaintiff alleges that BAM received fees from users of its

trading platform, he fails to plead facts showing that BAM did not earn those fees (by, for

example, providing trading services) or that those fees were obtained to the detriment of users

because they resulted from biometric information (or for any other reason). Therefore, this Court

should dismiss Plaintiff s unjust enrichment claim.

       Finally, even if this Court does not dismiss Plaintiff s BIPA and unjust enrichment claims

against BAM (and it should), this Court should dismiss his class action allegations against BAM

as a matter of law. By agreeing to BAM's Terms of Use, Plaintiff waived all rights to assert


class action claims against BAM because the Terms of Use include an express "Class Action

Waiver." The Supreme Court, as well as Illinois and California courts, have repeatedly enforced

such class action waivers. Thus, if Plaintiff s claims against BAM proceed at all, they can

proceed only on an individual basis.

       For all of these reasons and those that follow, this Court should dismiss the Complaint

against BAM with prejudice.l

II.    LEGAL STANDARD

       To survive a motion to dismiss, a complaint must "state a claim for relief that is plausible

on its face." Diedrich v. Ocwen Loan Servicins. LLC, 839 F.3d 583, 588 (7th Cir. 2016) lciting


I BAM joins the arguments of Jumio and Binance in their respective
                                                                      motions to dismiss to the
extent applicable to BAM.


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Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A plaintiff "must provide more than mere labels

and conclusions or a formulaic recitation of the elements of a cause of action for her complaint to

be considered adequate under Federal Rule of Civil Procedure 8." Bell v. City of Chicago, 835

F .3d 736, 738 (7th Cir. 201 6) (citation and internal quotation marks omitted). Plaintiff does not


satisfu the pleading requirements of FederalRule of CivilProcedure 8.

III.    ARGUMENT

        A.      This Court Should Dismiss Plaintiffs BIPA Claim against BAM.

        This Court should dismiss Plaintiffls BIPA claim against BAM because (1) BIPA does

not apply to financial institutions; (2) California law, not Illinois law, applies as to BAM; (3)

BIPA does not apply extraterritorially; and (4) the Complaint does not adequately allege that

BAM violated BIPA.

                1.     This Court Should Dismiss Plaintiffs BIPA Claim Against BAM
                       Because BIPA Does Not Apply to Financial Institutions Such as BAM.

        By its express terms, BIPA does not apply to financial institutions that - like BAM - are

subject to the GLBA. "Nothing in [BIPA] shall be deemed to apply in any manner to a

financial institution . . . subject to Title V of the [GLBA] and the rules promulgated thereunder."

740 ILCS ru/25(c) (emphasis added). "[This] exemption is explicit in that BIPA does not apply

to financial institutions already subjected to GLBA." Stauffer v. Innovative Heights Fairview

Heiehts" LLC,480 F. Supp. 3d 888, 903 (S.D. Ill. 2020).

       "The General Assembly likely excluded financial institutions because they are already

subject to a comprehensive privacy protection regime under federal law." Bryant v. Compass

Grp. USA. Inc., 503 F. Supp. 3d 597, 601 (N.D. Ill. 2020). Specifically, the GLBA reflects "the

policy of the Congress that each financial institution has an affirmative and continuing obligation

to respect the privacy of its customers and to protect the security and confidentiality of those




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customers' nonpublic personal information." 15 U.S.C. $ 6801(a). "Title V of the GLBA

contains a number of provisions designed to protect the privacy of 'nonpublic personal

information' . . . that consumers provide to financial institutions." Trans Union LLC v. FTC,

29sF.3d42,46 (D.C. Cir.2002) (citing l5 U.S.C. S$ 6801-6809).

        Title V of the GLBA defines a "financial institution" as "any institution the business of

which is engaging in financial activities as described in section 1843(k) of Title 12." 15 U.S.C.

$ 6809(3XA). Pursuant to Section 1843(k), the "activities . . . considered to be financial in

nature" include (l) "[]ending, exchanging, transferring, investing for others, or safeguarding

money or securities" and (2) "any activity that the [Board of Govemors of the Federal Reserve

System (the "Federal Reserve Board")] has determined, by order or regulation that is in effect on

November 12, 1999, to be so closely related to banking or managing or controlling banks as to

be a proper incident thereto." 12 U.S.C. gg 1843(kX4XA), (F).

       Courts have understood the term "financial institution" as used in the GLBA to have a

broad reach. "The GLBA does not exhaustively list the types of 'financial institutions' subject to

its coverage." FTC v. AmeriDebt. Inc. , 343 F . Supp. 2d 451, 456 (D. Md. 2004). Rather,

"'financial institution' is defined 'very broadly' under the GLBA and includes several entities

not traditionally recognized as financial institutions." Id. at 457. BAM is a "financial

institution" under the GLBA for at least two separate and independent reasons.

       rc!, BAM is engaged in activities that are "financial in nature," including exchanging,
transferring, and safeguarding money. 12 U.S.C. $ 1843(kX4). The Complaint alleges: "[BAM]

is a digital asset marketplace or cryptocurrency exchange which allows Illinois account holders

using the company's platform to purchase various cryptocurrencies including, but not limited to,




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Bitcoin [and] Ethereum." (Compl.fl 4.)2 The Complaint continues: "Plaintiffs and Class

members . . . create[ed] accounts and us[ed] [BAM's] software and exchange platform for

purchases relating to digital assets." Gd. 1T62; see also id. tTtT7, 17.) BAM's Terms of Use as

last updated on April 26,2021, which are incorporated by reference into the Complaint (see id.

fl 38),3 show that BAM is engaged in activities that are "financial in nature," including

exchanging, transferring, and safeguarding money:

         "BAM operates a platform ('Platform') that provides you with Trading Services for
         digital assets (also known as a 'cryptocurrency' or'virtual currency'), which is issued,
         stored, and/or transferred based on the protocol of a computer network known as a
         blockchain or a public transaction ledger ('Digital Assets'). You may use the Platform to
         execute the following trades: (1) sale of a Digital Asset for fiat or another Digital Asset;
         and (2) purchase of a Digital Asset with fiat or another Digital Asset." (Ex. A. at 4-5.)

         "You can purchase Digital Asset(s) using: (l) Digital Asset(s) or fiat monies in your
         BAM Account(s); (2) a valid bank account in the name that matches your Account(s); or
         (3) a credit or debit card in the name that matches your Account(s) ('Payment Methods').
         . . . Digital Asset(s) that you purchase will be deposited into your Account(s) as soon as
         the funds have settled to BAM, which may take up to five Business Days if the purchase
         was made via a bank account, credit, or debit card." (Id. at 8-9.)

         "You authorize BAM to credit or debit (or provide settlement information to third parties
         for the purposes of the third-party crediting or debiting) your Digital Assets and/or fiat
         monies from your Account(s) in accordance with your Instruction. We reserve the right
         not to effect any Transaction if you have insufficient fiat monies or Digital Assets in your
         Account(s) (i.e. less than the required amount to settle the Transaction and to pay all the
         fees associated with the Transaction)." Gd A at 10.)

         "U.S. dollar deposits stored in your Account(s) are held in pooled custodial accounts at
         one or more U.S. banks. Our custodial accounts have been established with the intention
         that they be eligible for Federal Deposit Insurance Corporation ('FDIC') pass-through, up


2
  Cryptocurrency is a "digital or virtual currency that is not issued by any central authority" and
"is designed to function as a medium of exchange." Black's Law Dictionary (l lth ed. 2019).
3
  (Declaration of Ezekiel L. Hill in Support of BAM Trading Inc.'s Motion to Dismiss the
Complaint ("Hill Decl."), Ex. A (BAM's Terms of Use as last updated on April 26,2021).) This
Court may consider BAM's Terms of Use in deciding this motion to dismiss because they are
incorporated by reference. "[T]he incorporation-by-reference doctrine provides that if a plaintiff
mentions a document in his complaint, the defendant may then submit the document to the court
without converting defendant's l2(bX6) motion to a motion for summary judgment."
Brownmark Films. LLC v. Comedv Partners, 682 F.3d 687, 690 (7th Cir. 2012).


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          to the per-depositor coverage limit then in place (currently $250,000 per eligible
          individual). . . . It is our policy to comply with the regulations and other requirements of
          the FDIC for pass-through deposit insurance." (ld. at 5.)

BAM's Trading Rules, which are part of BAM's Terms of Use, continue:a

          "The BAM Platform settles the Fiat Currency payments in all Filled Orders on a periodic
          basis, by debiting and crediting the relevant Fiat Currency balances in the Linked Fiat
          Wallet(s)." (Ex. B $ 2.9.3.)

          "Subject to any Limits imposed by BAM and the terms set out in any Linked Wallet
          Addendums, a Trader may withdraw some or all of its Fiat Currency from the Linked Fiat
          Wallet(s)." (Id. $ 3.3.2.)

BAM's Terms of Use, including its Trading Rules, demonstrate that BAM is engaging in

"financial activities" and, therefore, is a "financial institution" under the GLBA.

          Second, BAM is engaged in "[an] activity that the [Federal Reserve Board] has

determined, by order or regulation that is in effect on November 12,1999, to be so closely

related to banking or managing or controlling banks as to be a proper incident thereto." 12

U.S.C. $ 1843(kX4)(F). The Federal Reserve Board determined by orders in effect on

November 12,1999, that "money transmission services are closely related to banking." As it

stated: "[F]or the reasons discussed in this order and the Board's previous orders, the Board

concludes that domestic money transmission services are closely related to banking." Norwest

Corp.,8l Fed.Res.Bull. 1130, 1131(1995),reprinted at1995WL736783,at*2;seealso l2

C.F.R. $ 225.86(a)(2)(v) ("money transmission" is an "[a]ctivit[y] determined to be closely

related to banking" (citing Norwest, 8l Fed. Res. Bull. I130 (1995))).




4 (Hill
      Decl., Ex. B (BAM's Platform Trading Rules as last revised on Sept. 18,2}lg ("Trading
Rules")).) This Court may consider BAM's Trading Rules in deciding this motion to dismiss
because they are part of BAM's Terms of Use, which are incorporated by reference into the
Complaint. (Ex. A at I ("[The Trading Rules] are incorporated into these Terms."); see supra
n.3.)



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        BAM provides domestic money transmission services. BAM is "a money services

business registered with the U.S. Department of the Treasury's Financial Crimes Enforcement

Network ['FinCEN']." (Ex.A at 6.)5 More specifically, BAM is registered with FinCEN (and

holds similar registrations in 34 states and the District of Columbia) as a "money transmitter,"

the designation for an entity that "provides money transmission services," which include "the

acceptance ofcurrency, funds, or other value that substitutes for currency from one person and

the transmission of currency, funds, or other value that substitutes for currency to another

location or person by any means." 3l C.F.R. 1010.100(f0(5).6

        For all of these reasons, BAM is a financial institution subject to the GLBA. Indeed,

BAM's Privacy Policy as last updated on July 7,2021, which is incorporated by reference into

the Complaint (see Compl. 139),' expressly states that "the personal information we collect, use,

or disclose about . . . consumers who initiate or complete the process of applying for financial

products or services . . . is subject to the federal Gramm-Leach-Bliley Act and implementing

regulations." (Ex.D at 6.)




) (See also Hill Decl., Ex. C (BAM's MSB
                                              Registration Status Information dated Jan. 31,2022).)
 This Court may take judicial notice of BAM's FinCEN registration via its MSB Registration
 Status Information, which is a matter of public record and available on FinCEN's website, in
 deciding this motion to dismiss. "[A] district court [may] take judicial notice of matters of
 public record without converting a motion for failure to state a claim into a motion for summary
judgment," which "allow[s] courts to avoid unnecessary proceedings when an undisputed fact in
the public record establishes that the plaintiff cannot satis$, the l2(b)(6) standard." Gen. Elec.
 Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1080-81 (7th Cir.1997); see also
Laborers' Pension Fund v. Blackmore Sewer Constr.. Inc., 298 F.3d 600,607 (7th Cir. 2002)
(taking judicialnotice of bank ownership information on the FDIC website).
6
  As a registered money services business, BAM also is a "financial institution" pursuant to
FinCEN's regulations promulgated under the Bank Secrecy Act. See 3l C.F.R. 1010.100(tX3)
(defining a "financial institution" to include "[a] money services business").
T
  ltlitt Decl., Ex. D (BAM's Privacy Policy as last updated on July 7,2021).) This Court may
consider BAM's Privacy Policy in deciding this motion to dismiss because it is incorporated by
reference into the Complaint. (See supra n.3.)


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        Therefore, this Court should dismiss Plaintifls BIPA claim against BAM because BIPA

does not apply to financial institutions such as BAM.8

                2.     This Court Should Dismiss Plaintiffls BIPA Claim against BAM
                       Because California Law, Not Illinois Law, Applies as to BAM.

        California law applies as to BAM. BAM's Terms of Use provide: "These Terms shall be

construed in accordance with and govemed for all purposes by the laws and public policy of the

State of California applicable to contracts executed and to be wholly performed within such

state." (Ex. A at 19.) Since California law governs, this Court should dismiss Plaintiff s BIPA

claim against BAM, which is brought under Illinois law.

                       a.      Plaintiffs BIPA Claim Is Subject to the Choice-of-Law
                               Provision in the Terms of Use.

        A federal court exercising diversity jurisdiction - including, as here, under the Class

Action Fairness Act - applies the choice-of-law rules of the state in which it sits. See Klaxon

Co. v. Stentor Elec. Mfs. Co., 313 U.S. 487, 496 (19a1); Cunnineham Charter Corp. v. Leariet.

Lnc.,592 F.3d 805, 806 (7th Cir. 2010) (the Class Action Fairness Act "creates federal diversity

jurisdiction"). Therefore, this Court should apply the choice-of-law rules of Illinois.

        Under Illinois law, non-contract claims that are "dependent upon [a] contract are subject

to [the] contract's choice-of-law clause regardless of the breadth of the clause." Medline Indus.

Inc. v. Maersk Med. Ltd. ,230 F . Supp. 2d 857, 862 (N.D. Il1. 2002). While "[t]he issue of

whether a claim is 'dependent' upon a contract most often arises in the context of tort claims,"


8It is precisely because BAM is a financial institution that BAM verifies users like Plaintiff
                                                                                                  as
part of the account creation process. "Financial institutions that fail to implement effective anti-
money laundering programs . . . can face severe civil, regulatory, and criminal penalties." JM
Adjustment Servs.. LLC v. J.P. Morsan Chase Bank. N.A., No. l6-10630, 2018 WL 1168940,
at *5 (E.D. Mich. Mar. 6,2018). As the Complaint acknowledges: "The purpose of [BAM's]
identify verification process is to avoid fraudulent activity or unauthorized users from accessing
[BAM's] exchange." (Compl. fl 9.) BAM's Terms of Use explain BAM's "Identity
Verification" process. (Ex. A at 6; see also infra at pp. 9-10.)


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the "same analytical approach should apply to determine whether [a statutory claim] is

dependent upon a contract." Johnson v. Diakon Loeistics, No. 16-CV-06776,2021WL

4477893, at *6 (N.D. Ill. Sept. 30,2021). A non-contract claim is dependent upon a contract               if
"(l) the claim alleges a wrong based on the construction and interpretation of the contract,

(2) the . . . claim is closely related to the parties' contractual relationship, or (3) the . . . claim

could not exist without the contract." Amakua Dev. LLC v. Warner, 4l I F. Supp. 2d 941,955

(N.D. Ill. 2006); see also Miyano Mach. USA. Inc. v. Zonar, No. 92 C 2385,1994 WL 233649,

at *2 (N.D. Ill. May 23, 1994) ("[]t [is] appropriate to apply contract provisions to . . . claims

closely related to the parties' contractual relationship." (intemal quotation marks omitted)).

Plaintiff s BIPA claim is dependent upon BAM's Terms of Use for at least two reasons.

        rc!, Plaintiff s BIPA claim is closely related to BAM's Terms of Use. The Complaint
alleges that "[BAM] and Jumio obtained biometric identifiers and information from users of its

exchange, including facial geometry data, without first notifying them, without disclosing the

length for collection, storage and use of this information and without obtaining proper written

consent." (Compl. fl 14.) The Terms of Use govern the data received from a user to confirm

his/her identity when creating an account, as well as the process by which those data are

collected, recorded, and stored. For example, under the heading "Account Creation," the Terms

of Use provide for (among other things) "Identity Verification":

       As a money services business registered with [FinCEN], BAM is required to,
       among other things, identify users on our Platform. You agree to provide us with
       the information we request for the purposes of identity verification and the
       detection of money laundering, terrorist financing, fraud, or any other financial
       crime and permit us to keep a record of such information for at least six years . . .
       The information we request may include certain personal information . . . .

(Ex. A at 6.) Identity verification as part of account creation is at the heart of Plaintiff s BIPA

claim and governed by the Terms of Use. As a result, Plaintifls BIPA claim is closely related to




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the Terms of Use. Indeed, Plaintiff himself concedes that his BIPA claim is related to the Terms

of Use, referring to the Terms of Use in his Complaint. (See Compl. fl 38 ("This Terms of Use

document makes no mention of the collection of biometric data by its application or website.").)

       @[,       Plaintiff s BIPA claim could not exist without BAM's Terms of Use. The

Complaint alleges that - "during the account creation process" - "[P]laintiff . . . and other

Illinois users and account holders with [BAM] had their biometric data collected, recorded and

stored to confirm their identities in order to trade on the cryptocurrency exchange." (I-d.. nn24-

30.) The Terms of Use dictate the account creation process. For example, under the heading

"Account Creation," the Terms of Use provide for the "Setup" of accounts: "Full use of our

Services requires that you create an Account(s) by: (l) providing us with information such as

your full name, email addresS . . . , and such other information as we may require; (2) selecting a

strong password; and (3) accepting these Terms." (Ex. A. at 5.) The Terms of Use then provide

for "Identity Verification" as described above, which requires users "to complete certain

verification procedures before [they] are permitted to use the Services." (Id. at 6.) Since the

account creation process is governed by the Terms of Use and Plaintifls BIPA claim turns on

the account creation process, PlaintifPs BIPA claim could not exist without the Terms of Use.

       For all of these reasons, Plaintiffls BIPA claim against BAM is subject to the choice-of-

law provision in the Terms of Use.

                       b.     This Court Should Enforce the Choice-of-Law Provision in the
                              Terms of Use.

       Under Illinois law, a choice-of-law provision is enforced "unless it would both violate

fundamental Illinois public policy   4! Illinois has a materially greater interest in the litigation
than the chosen State." Midwa), I{ome Entm't. Inc. v. Atwood Richards. Inc.. No. 98 C 2128,

1998 WL 774123, at *2 (N.D. I11. Oct. 29,1998) (emphasis added; internalquotation marks




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omitted). Neither is the case here.

        First, the choice-of-law provision applying California law does not violate fundamental

Illinois public policy. Under Illinois law, a court "should not refuse to apply the law of a foreign

State, however unlike its own, unless it is contrary to pure morals and abstract justice, or unless

enforcement would be of evil example and harmful to its people." Potomac Leasing Co. v.

Chuck's Pub. Inc., 156 Ill. App. 3d 755,759 (2d Dist. 1987). "The fact that a different state may

provide certain statutory rights for a plaintiff which are not available under the chosen state's law

does not invalidate a choice-of-law provision as contrary to public policy." WTM. Inc. v.

Henneck, 125 F. Supp. 2d 864, 868 (1.{.D. Ill. 2000). "Illinois courts . . . have enforced parties'

choice-of-law provision even though a foreign state's [aw] left the Illinois residents no

recourse." Midway, 1998 WL 774123, at *3 ("[T]he choice-of-law provision requiring the

application of New York law bars the Illinois Consumer Fraud Act claim.").

       To state the obvious, the application of Califomia law is not "contrary to pure morals and

abstract justice" or "of evil example and harmful to [Illinois'] people." Id. "[T]he public policy

of [Illinois] must be sought in its constitution, legislative enactments and judicial decisions," and

"there is no Illinois legislative enactment, judicial decision, or constitutional provision which

articulates a public policy against applying [California law]." Id. at*2, *3. Moreover,

California law itself protects biometric information. The Califomia Consumer Privacy Act of

2018 (the "CCPA") - like BIPA - regulates the collection, use, and disclosure of biometric

information. Cal. Civ. Code $ 1798.100 et seq. For example, the CCPA enumerates "consumer

rights to request information regarding personal information collected by businesses," id.

$ 1798.110(a), and requires businesses to "inform consumers as to the categories of personal

information to be collected and the purposes for which the categories of personal information




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shallbe used," id. $ 1798.100(b). That "personal information" includes "[b]iometric

information," id. $ 1798.1aO(o), which is "an individual's physiological, biological, or

behavioral characteristics," including but not limited to "imagery of the . . . face . . . from which

an identifier template . . . can be extracted, " id. $ 1798.140(b). Further, in November 2020,

California voters passed an amendment to the CCPA, the California Privacy Rights Act of 2020

(the "CPRA"), which expands and enhances the CCPA. See generall), Cal. Civ. Code


$ 1798.100, et seq. (operative Jan. l, 2023). The CPRA contains additionalregulations

concerning biometric information, including categorizing biometric information as "sensitive"

information entitled to heightened protections. See generally id. lndeed, it is well-recognized

that California is at the forefront of privacy regulation in the United States.e Since the choice-of-

law provision in the Terms of Use applying Califomia law does not violate fundamental Illinois

public policy, this Court should enforce it.i0

         @!,, Illinois does not have a materially greater interest in this litigation than
California. California has an interest in the application of California law to California




e
   See. e.s., Daisuke Wakabayashi, California Passes Sweepinq Law to Protect Online Privacy,
N.Y. Trrraes (Jun.28,2018) (calling the CCPA "one of the most significant regulations
overseeing the data-collection practices of technology companies in the United States").
l0 Although
               the court in In re Facebook Biometric Information Privacy Litie., 185 F. Supp. 3d
1155 (N.D. Cal.2016), held that a choice-of-law provision that would have applied California
law to a BIPA claim was unenforceable under California's choice-of-law rules, that decision is
not only non-binding (and, in BAM's view, wrongly decided) but also inapplicable. First, the
Facebook court concluded that application of Califomia law would violate fundamental Illinois
public policy because "California has no law or policy equivalent to BIPA" and, "[u]nlike
Illinois, California has not legislatively recognized a right to privacy in personal biometric data."
Id. at I 169-70. That is no longer true. In 2018 - two years after the Facebook decision -
California did legislatively recognize aightto privacy in personal biometric data. (See supra
atp.12.) @[, the Facebook court applied California's choice-of-law rules, not Illinois'. Id.
at I168. As the Facebook court recognized, that was "potentially significant" to its decision
because "lllinois uses a'pure morals and abstract justice' consideration" while California does
not. Id. at 1167 n.1 (quoting Potomac Leasing, 156 Ill. App. 3d at759).


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businesses. "[C]ourts have noted the importance of enforcing choice of law provisions for

businesses with nationwide consumers to limit the risk and expenses of litigation under different

laws in every state." Abat v. Chase Bank USA" N.A. ,738 F. Supp. 2d 1093, 1096 (C.D. Cal.

2010). That is certainly true here. Both BAM and Jumio maintain their principal places of

business in California with users that cross state lines. (See Compl. flfl 17-18.) In contrast,

Illinois' interest is in protecting its citizens' rights under BIPA, but that is not enough to establish

a materially greater interest than California. Indeed, Illinois courts consistently enforce choice-


of-law provisions even when it results in Illinois citizens losing statutory rights under Illinois

law. (See supra at p. I 1.)

        Since the choice-of-law provision in the Terms of Use would not violate fundamental

Illinois public policy and Illinois does not have a materially greater interest in this litigation than

California, this Court should enforce the choice-of-law provision and apply California law. This

Court should dismiss Plaintiff s BIPA claim - which is brought under Illinois, not California,

law - against BAM. See. e.s., M. Block & Sons. Inc. v. IBM Corp., No. 04 C 340,2004WL

1557631, at *7 (N.D. Ill. July 8, 2004) ("Because New York law controls . . . , Plaintiff cannot

bring an Illinois statutory claim against Defendant.").

                3.      This Court Should Dismiss Plaintiffs BIPA Claim against BAM
                        Because BIPA Does Not Apply Extraterritorially.

        An Illinois "statute is without extraterritorial effect unless a clear intent in this respect

appears from the express provisions of the statute." Avery v. State Farm Mut. Auto. Ins. Co.,

216I11.2d100,184-85 (2005) (quoting Dur-Ite Co. v. Indus. Comm'n,394I11.338, 350 (1946)).

"[W]ith regard to [BIPA], there is no sign of that sort of intent from the Illinois legislature."

Rivera v. Google lnc., 238 F. Supp. 3d 1088, I100 (N.D. Ill.20l7). As a result, "[BIPA] is not

authorized to have extraterritorial effect." Id. "BIPA violations must occur in Illinois in order




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for plaintiffs to obtain any relief." McGoveran v. Amazon Web. Servs.. Inc., C.A. No. 20-1399-

LOS, 2021 WL 4502089, at*3 (D. Del. Sept. 30, 2021).

       A violation is deemed to occur in Illinois when "the circumstances that relate to [it] occur

primarily and substantially in Illinois." Avery, 216lll.2d at 187. To satisfli this standard, the

"majority of circumstances relating to the alleged violation" must have occurred in Illinois.

Landau v. CNA Fin. Corp., 381 Ill. App. 3d 61,65 (lst Dist. 2008). The Complaint alleges only

the following connection to Illinois: Plaintiff is an Illinois resident who used BAM's application

to create an account. (Compl. tltT 15, 17.) That allegation does not adequately allege that the

majority of the circumstances giving rise to BAM's alleged BIPA violation occurred in Illinois.

       Neither Plaintiff s residency nor his ability to use BAM's application to create an account

establishes that the alleged BIPA violation occurred primarily and substantially in Illinois. "A

plaintiff s residency is not enough to establish an Illinois connection in order to survive a motion

to dismiss based on extraterritoriality." McGoveran,202l WL 4502089, at*4 (collecting cases).

Nor is Plaintiff s ability to use BAM's application enough: "The only connection to Illinois was

[the victim's] status as a resident and [defendant's] remote solicitation of [the victim]. That was

insufficient to allow Illinois regulatory law . . . to apply to [defendant]." Stroman Realtv. Inc. v.

Allison, 2017 lL App (ath) 150501-U, 2017 WL 2589983, at *7 (4th Dist. 2017).rr

       McGoveran is directly on point. There, Illinois residents alleged that non-residents

"violated BIPA by collecting, possessing, redisclosing, profiting from, and failing to safeguard

their biometric identifiers and biometric information, including their voiceprints." 2021WL



ll The Complaint also makes the formulaic recitation that "Defendants' acts and omissions, at
relevant times, have occurred in the course of trade or commerce in the State of Illinois."
(Compl. fl 51.) That naked legal conclusion may not be considered on a motion to dismiss.
"While factual allegations must be accepted as true, legal conclusions may not be considered."
Agnew v. Nat'l Collegiate Athletic Ass'n, 683 F.3d 328,334 (7th Cir. 2012) (citing IqbAD.


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4502089, at *2 (internal quotation marks omitted). The plaintiffs asserted that their biometric

identifiers and information were extracted from "calls originating from Illinois, from Illinois

citizens, and from . . . Illinois phone numbers." Id. at *4. The court dismissed the BIPA claim

because the "[p]laintiffs failed to allege conduct that occurred primarily and substantially in

Illinois." Id. The court held that the "location of the caller does not . . . say anything about the

location where the rest of the conduct occurred." Id. Since the defendants were "located wholly

outside Illinois," the complaint provided "no indication . . . that [d]efendants did anlthing in

Illinois." Id. In attempt to save their BIPA claim, the plaintiffs urged "the adoption of a rule"

holding that, "under BIPA, as long as the source of the biometric data is Illinois, that's enough to

establish liability." Id. at *6. The court rejected that "overly broad and ultimately untenable"

rule, finding that it "flies in the face of Illinois cases holdingthat a plaintifls residency is not

enough to survive a motion to dismiss based on extraterritoriality." Id. The court concluded:

"BIPA does not apply extraterritorially, but the complaint alleges an extraterritorial application

ofBIPA." Id.

        The same is even more true here. The Complaint does not plead any facts plausibly

showing that BAM's alleged BIPA violation occurred in Illinois, much less primarily and

substantially in Illinois. The Complaint concedes that BAM (and each of the other Defendants)

is a non-resident and has a principal place of business outside of Illinois. (Compl. flfl l6-18,21.)

Plaintiff alleges only that he is a resident of Illinois who used BAM's application to create an

account. (See supra at p. 14.) That is not enough. See MgGqvgfaq,202l WL 4502089, at*6;

Vulcan Golf, LLC v. Gooele Inc.,552F. Supp. 2d 752,775 (N.D. Ill. 2008) (finding the

allegation that the plaintiffs were Illinois residents insufficient to "plausibly suggest" that the

alleged violation "occurred primarily and substantially in Illinois").




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        Therefore, this Court should disrniss Plaintiffls BIPA claim against BAM because BIPA

does not apply extratenitorially and the Complaint does not plead facts showing that BAM's

alleged BIPA violation occurred primarily and substantially in Illinois.

               4.      This Court Should Dismiss Plaintiffs BIPA Claim against BAM
                       Because the Complaint Does Not Adequately Allege That BAM
                       Violated BIPA.

       Pursuant to the basic pleading requirements of Federal Rule of Civil Procedure 8, BAM         -
like any defendant - "is entitled to know what [it] did that is asserted to be wrongful." Bank of

Am.. N.A. v. Knieht,725F.3d 815, 818 (7th Cir.20l3). "Notice pleading and vague allegations

of collective conduct don't go hand-in-hand;these types of lumped allegations are inadequate

under Federal Rule of Civil Procedure 8." Patel v. Fendler, No. 15-CV-0366-MJR-SCW, 2016

WL336017,at*l (S.D. Ill. Jan.28,2016). Indeed, details aboutthe specific conduct of each

defendant "are not merely nice-to-have features of an otherwise-valid complaint;to pass muster

under [Rule 8], a claim to relief must include such particulars." Atkins v. Hasan, No. l5 CV

203, 201 5 WL 38627 24, at * 2 (N.D. Ill. June 22, 20 I 5).

       The Complaint largely fails to plead which Defendant did what, leaving BAM and this

Court to speculate as to BAM's alleged BIPA violation. As discussed above, the Complaint

alleges that "[P]laintiff . . . and other Illinois users and account holders with [BAM] had their

biometric data collected, recorded and stored to confirm their identities in order to trade on the

cryptocurrency exchange." (CompLn24.) The Complaint, however, lumps together Defendants

with respect to the alleged collection, recording, and storage of the biometric data. For example:

       "[BAM] and Jumio obtained biometric identifiers and information from users of its
       exchange, including facial geometry data, without first notifuing them, without disclosing
       the length for collection, storage and use of this information and without obtaining proper
       written consent." (Id. fl 14.)




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        "Binance, with assistance and control from or as an alter ego of [BAM], was the entity
        that directly collected [Plaintiff]'s and other Illinois [BAM] users' biometric information
        and identifiers or is otherwise responsible for the collection of this biometric data." (Id.
        1140.)

.       "Defendants recorded, collected, and stored [Plaintiff]'s and other Class members'
        'biometric information', based on 'biometric identifiers' used to identify them, through
        the use of facial scanning and mapping and as defined by [BIPA]." (ld. fl 52.)

On their face, such allegations do not identify the conduct by BAM (as distinct from that by

other Defendants) with respect to the alleged collection, recording, and storage of biometric data

- i.e., the conduct that constitutes BAM's alleged BIPA violation. The Complaint "without any
details about who did what . . . is inadequate" and "does not propound a plausible contention

that a particular person," much less BAM, "did anything wrong." Knight, 725 F .3d at 818.

        Therefore, this Court should dismiss Plaintiff s BIPA claim against BAM because the

Complaint does not adequately allege that BAM violated BIPA.'2

        B.       This Court Should Dismiss Plaintiffs Unjust Enrichment Claim against
                 BAM.

        This Court should dismiss Plaintiff s unjust enrichment claim against BAM because (1) it

is derivative of the BIPA claim and (2) the Complaint does not adequately allege it.

        First, Plaintifls unjust enrichment claim is derivative of his BIPA claim. "Unjust

enrichment is not a separate cause of action under Illinois law." Horist v. Sudler & Co., 941

F.3d274,281 (7thCir.2019). "[]f an unjust enrichment claim rests on the same improper

conduct alleged in another claim, then the unjust enrichment claim will be tied to this related

claim - and, of course, unjust enrichment will stand or fall with the related claim." Cleary v.




r2
   In an apparent effort to sidestep this fatal defect, the Complaint makes a series of naked legal
conclusions that expressly lump together Defendants. (Compl. fl19.) Those conclusory
allegations do not state a claim (see supra at pp.2-3, n.11) and only highlight the Complaint's
failure to plead each Defendant's - and specifically BAM's - alleged BIPA violation.


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Philip Morris Inc., 656 F.3d 51 1, 5 17 (7th Cir. 201 1). Plaintiffls unjust enrichment claim

depends on the same conduct as his BIPA claim. Therefore, this Court should dismiss Plaintiff s

unjust enrichment claim alongside the dismissal of his BIPA claim.

        Second, the Complaint does not adequately allege an unjust enrichment claim against

BAM. To plead an unjust enrichment claim, "a plaintiff must allege that the defendant has []

unjustly retained a benefit [2] to the plaintiff s detriment, and that [3] defendant's retention of the

benefit violates the fundamental principles ofjustice, equity, and good conscience." HPI Health

Care Servs.. Inc. v. Mt. Vernon Hosp.. Inc., 131 Ill. 2d 145,160 (1989). Plaintiff does not.

        As an initial matter, Plaintiff does not plead facts showing that BAM unjustly retained a

benefit. The Complaint alleges that "Binance and [BAM] received monetary gain via payment

offees from its users and account holders for the purchase and transfer ofdigital assets and

cryptocurrency." (Compl. fl 61.) Plaintiff does not plead that BAM failed to provide the trading

services for which it allegedly collected fees. Plaintiff cannot claim unjust enrichment "if he

received from the other that which it was agreed the . . . other should give in return." Cumminss

by Techmeier v. Briges & Stratton Ret. Plan,797 F.2d 383, 390 (7th Cir. 1986).

       Moreover, Plaintiff does not plead facts showing a detriment. The Complaint alleges that

"Plaintiffs and Class members, to their detriment, have conferred benefits on Defendants

Binance and [BAM] by creating accounts and using their software and exchange platform for

purchases relating to digital assets." (Compl. fl 62.) Plaintiff does not identifu the "benefits"

conferred on BAM to his "detriment" but, whatever those "benefits" may be, they are not related

to biometric information. The Complaint does not plead any facts showing that BAM's fees

resulted from the biometric information of Plaintiff (or anyone else). Indeed, Plaintiff himself

admits that the "payment of fees from [BAM's] users and account holders" was "for the




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purchase and transfer of digital assets and cryptocurrency." Gd. fl 61 .)

       Further, Plaintiff does not plead facts showing that BAM's retention of fees from users

and account holders violates fundamental principles ofjustice, equity, and good conscience. The

Complaint alleges that "Defendants' retention of fees from sales and transfers to and for Plaintiff

and the Class violates fundamental principles ofjustice, equity, and good conscience." (Id.

fl 63.) Plaintiff s formulaic recitation of this element is legally inadequate. (See supra atpp.2-3,

n.1 1.) The Complaint does not plead any facts showing that it violates fundamental principles

for BAM to retain the fees that it has received from users trading on its platform.

       For all of these reasons, this Court should dismiss Plaintiff s unjust enrichment claim

against BAM.

       C.       This Court Should Dismiss Plaintiffs Class Action Allegations against BAM
                Because Plaintiff Has Waived Any Class Action Claims against BAM.

       This Court should dismiss Plaintiff s class action allegations against BAM because, by

agreeing to BAM's Terms of Use, Plaintiff has waived all rights to assert class action claims

against BAM. See. e.g,, Niiranen v. Carrier One" Inc., No. 20-CV-06781,2022WL 103722,

at *9 (N.D. Ill. Jan. 11,2022) (dismissing class allegations based on a class action waiver). The

Terms of Use expressly "govern [Plainti{f s] access and use of the Services provided by BAM."

(Ex. A at l.) The Terms of Use contain the following "Class Action Waiver":

       TO THE EXTENT PERMITTED BY LAW, ALL CLAIMS MUST BE
       BROUGHT IN A PARTY'S INDIVIDUAL CAPACITY, AND NOT AS A
       PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS,
       COLLECTIVE ACTION, OR REPRESENTATIVE PROCEEDING. UNLESS
       BOTH YOU AND BAM AGREE, NO . . . JUDGE MAY CONSOLIDATE MORE
       THAN ONE PERSON'S CLAIMS . . . . BY AGREEING TO THESE TERMS,
       YOU ACKNOWLEDGE THAT YOU AND BAM EACH WAIVE THE RIGHT
       TO . . . PARTICIPATE IN A CLASS ACTION.

(Ex. A at20.)

       The Supreme Court has repeatedly held that such class action waivers are enforceable.



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See. e.g., Epic Sys. Corp. v. Lewis, 138 S. Ct.1612,1628 (2018); Am. Exp. Co. v. Italian Colors

Rest., 570 U.S. 228, 238 (2013); AT&T Mobilit), LLC v. Concepcion, 563 U.S. 333,352 (201 1).

So have Illinois and California courts. See. e.g., Kinkel v. Cingular Wireless LLC ,223 lll.2d l,

al Q006); Iskanian v. CLS Transp. Los Aneeles. LLC, 59 Cal. 4th348,364 (2014).

       This Court should do the same - especially on the facts here. The Terms of Use

(1) directed users to read them "carefully" and explained that "[t]he Terms you see below are

important" because (among other things) "they . . . [c]ontain a class action waiver" (Ex. A at l);

(2) informed users that "[t]hese Terms . . . constitute valid and legally binding obligations,

enforceable against you in accordance with their respective terms" (id. at l2); and (3) confirmed

with users that "[y]ou agree that you have read, understand, and accept these Terms by signing

up for an Account(s) . . .with BAM" and that, "[i]f you do not agree with these Terms, do not

access or use the Services, Sites, or any other aspect ofour business" (id. at l).

       Therefore, this Court should dismiss Plaintiff s class action allegations against BAM

because Plaintiff has waived any class action claims against BAM. If Plaintiff s claims against

BAM proceed at all, they can proceed only on an individual basis.l3

IV.    CONCLUSION

       For all of these reasons, this Court should dismiss the Complaint against BAM with

prejudice.




r3
   Alternatively, this Court should strike Plaintiff s class action allegations against BAM
pursuant to Federal Rule of Civil Procedure 12(f) for the same reasons. See. e.s., Hill v. Wells
Fargo Bank. N.A. ,946 F . Supp. 2d 817, 832-33 (N.D. Ill. 2013) (striking class allegations where
a class could not be maintained).



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 Dated: January 31,2022                   Respectfully submitted

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                                CERTIFICATE OF SERVICE

       I, Daniel Roeser, an attomey, hereby certify that, on January 31, 2022, I caused the
foregoing to be electronically filed via the Court's CM/ECF system, which effected service on all

counsel ofrecord.



                                                  /s/ Daniel Roeser
                                                  Daniel Roeser
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                                                       UNITED STATES OF AMERICA
srATE oF ILLIN.IS                                                                                                        COUNTY OFDU,PAGE
                                 IN THE cIRCUrr COI,RT OFTHE EIGHTEENTII JUD

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                       -vs-
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                                                   |            CASE NI'MBER                                   21 Jun     09 AM 08:56
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                                                                                                                (*fu^*y CLERKOtr'T[IE
                                                                                                                rSTH JUDTCIAL CIRCUIT
                                                   I                                                         DUPAGE COUNTY, ILLINOTS



                                                                    ORDER



This cause comi-ng to be heard on Defendant Elmhurst University's f'Elmhurst") Section 2-619.1 Motion for Summary Judgment
                                                                                                                                   and
Altemative Motion to dismiss (the "sectiou 2-619.1Motion").and Supplemenlal 2-615 Motion to Dismiss (the ,.Supplemental
                                                                                                                                Motiou to
Dismiss"), due notice having been given and the Court beihg fully advised in the premises, and for the reasons stated on the record and
reflected in the transcript, THE COURT HEREBY HOLDS THAT:



     I' The term "ftnancial institution" in Section 14t25(c) of the Illinois Biometic Information Privacy Act ('BIpA") means an entity
        thatissubjecttoTitleVof theGramm-Leach-BlileyActof 1999, l5 U.S.C. $ 680l,etse4. ("GLBA')andtherulespromulgated
       thereunder; and
     2. Elmhurst has not satisfied its burden of establishing that it is a financial institution subject to the GLBA.


Accordingly, IT IS HEREBY ORDERED THAT:


    l. The Supplemental Motion to Dismiss is DENIED without prejudico.
    2. Elrnhurst shall have June 22,2021 to file a renewed motion to dismiss under Section 2-619 raising the argument
                                                                                                                             that Elrnbunt is
       cxempt under BIPA pursuant to Section 14125(c), or to othenvise answer or respond to Plaintiff s Complaint.
    3. The Section 2-619.1Motion is entered and continued.




Submitted by: cunlsrorHER ALLEN
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DuPage Attorney Number: zL532
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     Case: L'.2L-cv-01579 Document #: 31 Filed: 02122122 Page 1 of 3 PagelD #'.232




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JANE DOE, individually and on behalf of a
 class of similarly situated individuals,

                  Plaintifl
                                                          Case No. 21 C 1579


                                                          Judge Joan H. Lefkow
 NORTHWESTERN LINIVERSITY,

                  Defendant.


                                                 ORDER

       Defendant Northwestern University's motion to dismiss (dkt. 15) is granted. This case is
terminated. See statement.

                                             STATBMENT

        Plaintiff Jane Doe attends Northwestern University. (Dkt. l-1 flfl 1,34). Throughout the
COVID-19 pandemic, Northwestern required her and other students to take exams outside of the
classroom using third-party online remote proctoring tools. (1d fl 2). These tools capture and
store various user data, including "biometric" data. (Id nn 3-4). Doe filed an action on behalf of
herself and others similarly situated alleging that Northwestern's use of these third-party
proctoring tools violated the Illinois Biometric Information Privacy Act (BIPA), 740 Ill. Stat.
Comp. l4l1 et seq. (Id. nn 42-48,50-61.)'

        Northwestern moves to dismiss the action under Federal Rule of Civil Procedure
 l2(bX6). A Rule l2(bX6) motion challenges a complaint for failure to state a claim upon which
relief may be granted. In ruling on such a motion, the court accepts as true all well-pleaded facts
and draws all reasonable inferences from those facts in the plaintiff s favor. See Active Disposal,
Inc. v. City of Darien,635 F.3d 883, 886 (7th Cir.2011). To survive a Rule 12(bX6) motion, the
complaint must establish that the requested relief is plausible on its face. See Ashcroft v. Iqbal,
556 U.S. 662, 678 (2009). The allegations in the complaint must be "enough to raise a right to
relief above the speculative level." Bell Atl. v. Twombly, 550 U.S. 544,555 (2007).




        I Northwestem removed
                                 the action to federal court pursuant to the Class Action Fairness Act,
28 U.S.C. $$ 1332(d), 1453, on the basis of class size, minimal diversity, and an adequate amount in
controversy. (Dkt. l.) Venue is proper under 28 U.S.C. $ 1446.
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       In this diversity action, Illinois law controls. See In re: Emerald Casino, lnc.,867 F.3d
743,765 (7th Cir. 2013). Where, as here, there is no controlling decision by the Illinois Supreme
Court on the relevant issue, see Zahnv. N. Am. Power & Gas, LLC,8l5 F.3d 1082, 1087 (7th
Cir.2016), the court gives "proper regard" to lower Illinois court decisions, see Bloodv. VH-l
Music First, 668 F.3d 543, 546 (7th Cir- 2012).

         BIPA regulates the collection, usage, and general handling of biometric information by
private entities. Section 25(c) of BIPA, however, exempts from coverage "a financial
institution . . . that is subject to Title V of the federal Gramm-Leach-Bliley Act of 1999
[(GLBA)] and the rules promulgated thereunder." 740lll. Stat. Comp. 14125(c). Northwestern
argues that Doe's complaint must be dismissed because it is a financial institution subject to Title
V of GLBA and therefore exempt under section 25(c).

       Doe raises several arguments to avoid dismissal. First, Doe argues that the exemption
does not apply because neither Northwestern nor any university is a "financial institution" under
BIPA. BIPA does not separately define the term "financial institution," and Doe does not argue
for adopting any particular definition. Instead, Doe argues that "financial institution" simply
cannot include universities based on definitions from dictionaries and other statutes. But the only
case addressing the applicability of the 25(c) exemption to a university, Jane Doe v. Elmhurst
University, No. 20-1400 (Cir. Ct., lSth Judicial Cir., Du Page Cty., Ill.), ruled that the plain
meaning of "financial institution" in BIPA is the same as in GLBA, which includes universities.
(Dkt.28-2416.)

       Relatedly, Doe argues that section 25(c) suggests a two part-test and the court must first
determine that Northwestern is a "financial institution" before looking at whether it is subject to
Title V of GLBA. Doe argues that this two-step inquiry supports its theory that BIPA's definition
is different from that of GLBA. In support, Doe cites Stauffer v. Innovative Heights Fairview
Heights, LLC, 480 F. Supp. 3d 888 (S.D. I1l. 2020), but this case did not set out a separate
definition for "financial institution," as Doe suggests; it merely recognized that some financial
industry defendants are not subject to Title V of GLBA and therefore are not exempt under
section 25(c). Id. at902.


         Second, Doe argues that exempting Northwestem under section25(c) would contradict
BIPA's remedial purpose. Doe uses BIPA's legislative history to argue that section 25(c) was
only meant to apply to "banks that are covered under federal law," not universities. Il. H.R. Tran.
2008 Reg. Sess. No. 276 at249 (May 30, 2008). But there is no need to consult legislative
history where section 25(c)'s plain language makes clear that it applies to any "financial
institution," not just banks. See United States v. Melvin,948 F.3d 848, 852 (7th Cir.2020).
Further, the exemption does not undermine BIPA's remedial purpose because the exempted
financial institutions are still subject to GLBA's privacy scheme.
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        Next, Doe argues that Northwestern has not established that it is subject to Title V of
GLBA and therefore exempt. Title V of GLBA governs the treatment of nonpublic personal
information about consumers by financial institutions. 15 U.S.C. $$ 6801--09. Under GLBA, a
financial institution is "any institution the business of which is engaging in financial activities."
1d $ 6809(3)(4). The Federal Trade Commission (FTC), which promulgates rules pursuant to
GLBA, considers colleges and universities to be financial institutions subject to Title V where
"such institutions appear to be significantly engaged in lending funds to consumers." Fed. Trade
Comm'n, Privacy of Consumer Financial Information, Final Rule, 65 Fed. Reg. 33,648 (May 24,
2000). Courts defer to an agency's construction of the statute it is charged with administering so
long as the construction is reasonable. See Jeffers v . Comm'r of Internal Revenue, 992 F .3d 649,
564 (7thCir.202l). Given GLBA's broad definition, the FTC's interpretation that universities
that lend funds to consumers are financial institutions under GLBA is reasonable. As to
Northwestem's status as an institution of higher education that "significantly engage[s] in
lending funds," publicly available govemment documents confirm it to be so, €.g., Fed. Student
Aid Office, U.S. Dept. of Educ., Protecting Student Information (July 29,2015), and Doe cites
nothing to the contrary.

       Doe also argues that Northwestern is not subject to Title V of GLBA because it complies
with FERPA. Doe points to N.11 State Bar Ass'nv. Fed. Trade Comm'n,276 F. Supp. 2d 710,
144 (D.D.C .2003), which mentions that universities that comply with the Federal Educational
Rights and Privacy Act (FERPA) are "exempt" from GLBA requirements. But universities that
comply with FERPA are deemed in compliance with, not exempt from, GLBA, see 16 C.F.R.
$ 313.1(b); l2 C.F.R. $ 1016.1(b)(2)(ii), and the court in N.Y. State Bar Ass'nwas merely
describing the regulations, not articulating any new exemptions.276F. Supp. 2d at l44.Doe
asserts that Northwestern's compliance with FERPA does not justify its exemption from BIPA
because FERPA does not contain equivalent privacy protections. Nevertheless, the plain
language of section 25(c) exempts Northwestern as a financial institution subject to Title V of
GLBA, and the court must apply it as such.

       Last, Doe's argument that applying25(c) to Northwestern could render BIPA
unconstitutional "special legislation" is unavailing. Similar arguments have been rejected by
other courts . See Bryant v . Compass Grp. USA, Lnc.,503 F. Supp. 3d 597, 601 (N.D. Ill. 2020);
Stauffer,480 F. Supp. 3d at902. Doe offers no rationale warranting a contrary result here.

       For these reasons, Northwestern is exempt from BIPA under section 25(c). The motion to
dismiss is granted and the complaint dismissed with prejudice.


Date: February 22,2022

                                                        .S. District Judge Joan H. Lefkow
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